Case 2:20-cv-07110-MWF-MRW Documepté6 Filed 10/16/20 Pagei1of1i Page ID#:43

JS-6

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER:

 

Victor Leal,
. CV 20-7110 MWF (MRW)
Plaintiff,

 

V.
ORDER DENYING REQUEST TO PROCEED

 

California Mens Colony State Prison et al., WITHOUT PREPAYMENT
OF FILING FEES
Defendant(s). AND CLOSING CASE

 

On August 10,2020 __, the Court DENIED plaintiff's request to file the action without prepayment of
the full filing fee with leave to amend. Plaintiff was advised to resubmit the Request to Proceed Without
Prepayment of Filing Fees and Complaint with a certified copy of the Trust Account Statement and
Disbursement Authorization within 30 days, and failure to do so would result in closure of the case.

Plaintiff has failed to submit a timely response. Accordingly, the Request to Proceed without

Prepayment of Filing Fees is DENIED and the case is closed.

IT IS ORDERED. AY
DATED: October 16, 2020 2 |

United States District Judge \ J

Presented by:

Ll [ _ ~ Michael R. Wilner

United States Magistrate Judge

 

IFP-9 (04/15) ORDER DENYING REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES AND CLOSING CASE
